                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE

 KATERI LYNNE DAHL,                            )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )         No. 2:22−cv−00072−KAC−JEM
                                               )
 CHIEF KARL TURNER, et al.,                    )
                                               )
        Defendants.                            )

                                        Notice of Deposition

        Plaintiff Kateri Lynne Dahl, by counsel Hugh A. Eastwood and Alexis I. Tahinci, gives

 notice pursuant to Fed. R. Civ. P. 30 that she will take the deposition of non-party witness City

 Attorney Sunny Sandos on Wednesday, October 24, 2023 at 1:30 p.m. at Keystone Community

 Center, 508 Cranberry Street, Johnson City, Tennessee 37601. The date, time and place are by

 agreement of counsel, who also agree a subpoena is not required. The deposition will not be

 videotaped. The name and address of the Court reporter and stenographer is Lisa Overbey, P.O.

 Box 7481, Kingsport, TN 37664, 432-230-8000, rebecca@courtrep.net.

                                               Respectfully submitted,

                                               Counsel for Plaintiff Kateri Lynne Dahl

                                                   /s/ Hugh A. Eastwood

                                               Hugh A. Eastwood, E.D. Mo. Bar No. 62058MO,
                                               admitted pro hac vice pursuant to L.R. 83.5(b)(1)
                                               Attorney at Law
                                               7911 Forsyth Blvd., Ste. 300 St.
                                               Louis, Missouri 63105-3825
                                               hugh@eastwoodlawstl.com
                                               (314) 809 2343
                                               (314) 228 0107 eFax




Case 2:22-cv-00072-KAC-JEM Document 37 Filed 10/07/23 Page 1 of 2 PageID #: 280
                                              /s/ Alexis I. Tahinci
                                             Alexis I. Tahinci, TN BPR No. 031808
                                             Tahinci Law Firm PLLC
                                             105 Ford Ave., Suite 3
                                             Kingsport, TN 37663
                                             (423) 840-1350
                                             (423) 815-1728 eFax
                                             alexis@tahincilaw.com

                                       Certificate of Service

 The undersigned certifies that on October 7, 2023 that (s)he served a copy of this document on
 all counsel of record by operation of the District Clerk’s CM/ECF system.

 /s/ Hugh A. Eastwood, 62058MO, pro hac vice




                                                 2
Case 2:22-cv-00072-KAC-JEM Document 37 Filed 10/07/23 Page 2 of 2 PageID #: 281
